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lN THE UNITED sTATEs DlsTRICT Cou?a? §
FoR THE WESTERN DISTRICT oF TENNESS

 

EASTERN DIVISION
aoY LEE WADE, )
Piaimiff, i
vs j NO. 04-1040-r/An
MARK DAvinsoN, ET AL., §
Defendams. §

 

ORDER GRANTING DEFAULT JUDGMENT
AND
REFERRING CASE FOR REPORT AND RECOMMENDATION ON DAMAGES

 

On December 21, 2004, upon application of the plaintiff, Roy Lee Wade, the Clerk of Court
entered default against defendant James Clifford pursuant to Fed. R. Civ. P. 55(a). Summary
judgment was subsequently granted to the remaining named defendants, but no motion for default
judgment under Rule SS(b) was flled.l Accordingly, the Court issued an order on June 6, 2005,
directing plaintiff to show cause why his claims against Clifford should not be dismissed for failure
to prosecute Plaintiff filed a response to the show cause order and a motion to enter judgment on
June 14,2005.

Plaintii`i`s motion for default judgment is GRANTED. Although plaintiff seeks damages in

the amount of SIOO,()OO in his motion,2 the Court finds that additional proceedings are necessary in

 

1 In a prior order issued December lO, 2004, the Court explained in detail the steps necessaiy in order to
obtain a default judgment

2 The original complaint prayed forjudgment in the amount of $100,00() against each defendantl However,

the amendment which added Clifford as a defendant prayed only for “damages in an amount which will fairly
compensate him for his loss.”

This document entered on the docket sheet l compli
with ama ss and one (a) FacP on (Q Z[§[ 0 §e

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order to determine the appropriate amount of damages. Therefore, this case is hereby REFERRED
to U.S. Magistrate Judge S. Thomas Anderson to conduct a hearing on the question of damages and
to issue a report and recommendation

Any exceptions to the Magistrate Judge’s report shall be made Within ten (10) days of the
report, setting forth with particularity those portions of the report excepted to and the reasons for the
exceptions

lT IS SO ORDERED.

JUANUFES D. ToDD
ED sTATEs DisTRICT JUDGE

/9[ ?/M/c¢ 219‘0§/

DATE

DISTRICT OURT - WESTER D"ISRICT oF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 49 in
case 1:04-CV-01040 Was distributed by faX, mail, or direct printing on
June 15, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

